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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

            v.                                Case No. 21-cr-00381

STACY WADE HAGER

             JOINT MOTION TO CONTINUE STATUS HEARING

     Comes now the defendant, by and through his attorney,

Richard S. Stern, to respectfully move this Court to continue the

present scheduled date of September 10, 2021 to October 7,8 or

11, 2021 if available to the Court.

     Attempt to obtain consent

     Undersigned counsel contacted Susan Lehr, Esquire, counsel

for the government, on her position on this matter and she joins

in the granting of this motion.

     As grounds therefore, we state as follows:

     1.   The status hearing is set in this matter for September

10, 2021.

     2.   The parties wish to complete discovery and other

matters, which are substantial, and need the additional time.

     3.   Undersigned counsel has discussed with the defendant his

right to demand a speedy trial.         He understands that he has that

right, but wishes to excludes the time from this date until the

proposed new date from any speedy trial calculations to review

discovery and to investigate other matters.




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     WHEREFORE, we pray that this Motion be granted.


                                        Respectfully submitted,



                                        /s/ Richard S. Stern
                                        _____________________________
                                        RICHARD S. STERN
                                        932 Hungerford Drive
                                        Suite 37A
                                        Rockville, MD 20850
                                        301-340-8000
                                        rssjrg@rcn.com


                       CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that I have electronically served all

counsel of record on September 9, 2021.


                                        /s/ Richard S. Stern
                                        _____________________________
                                        RICHARD S. STERN




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